       Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 1 of 11




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


 STATE OF GEORGIA,
                                                   Case No. __________
  v.
                                                   (Related to:
 JEFFREY BOSSERT CLARK,
                                                   Case No. 1:23-cv-03621-SCJ)
  DEFENDANT.
                                                   Judge Steve C. Jones


                                                   On removal from the Fulton
                                                   County Superior Court

           DECLARATION OF HARRY W. MACDOUGALD

       My name is Harry W. MacDougald. I am over the age of 18, suffer no

mental imparities, and have personal knowledge of the following:

                                           1.

       I am an attorney and partner at the law firm of Caldwell, Carlson, Elliott &

DeLoach, LLP. I am a member of the State Bar of Georgia and am admitted to

practice before this Court. I represent Jeffrey B. Clark in this matter.

                                           2.

       On August 15, 2023, and thereafter, my assistant retrieved certain

information from the website of the Clerk of the Superior Court of Fulton County.




                                           1
      Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 2 of 11




                                           3.

      At the address https://www.fultonclerk.org/DocumentCenter a search for

Case No. 22-EX-000024 will eventually lead one to the following webpage,

https://www.fultonclerk.org/DocumentCenter/Index/94?Grid-

orderBy=LastModifiedDate-desc which purports to list all filings in that case

number, known as In Re: Special Purpose Grand Jury, Case No. 22-EX-000024.

As of August 20, 2023, the search results listed 172 filings, in reverse

chronological order. However, the documents available on that page do not include

certain filings like the order approving the creation of the Special Purpose Grand

Jury on January 9, 2022 and other filings from before July 19, 2022. Further, it

appears that (a) several items in the Clerk’s listing may be duplicates; (b) the

filings were in chronological order on August 15 but are now in reverse

chronological order on August 20; (c) only the first page of a several-hundred page

filing by President Trump from May 20, 2023 is available; and (d) the case is

simply not on the Court’s electronic filing system — all filings are file-stamped by

hand, and the case cannot be found on the e-filing vendors’ systems, Odyssey or

PeachCourt. This is despite the case being listed on the Clerk’s “High Profile

Cases” page. See https://www.fultonclerk.org/480/High-Profile-Cases (last visited

Aug. 21, 2023). My assistant downloaded all the documents available at the

webpage listed above on August 15, 2023 and I later retrieved an additional filing



                                          2
      Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 3 of 11




made August 16, 2023. We ended up with 174 documents and have thus far been

unable to reconcile the discrepancy, largely due to the changes in the presentation

on the Clerk’s website between August 15 and August 20, 2023, and the existence

of what appear to be duplicate filings in the Clerk’s listing. The list of documents

in Exhibit A hereto is a document that I created from the file names for each filing,

which we have edited to insert the Exhibit number and the date as a prefix. Exh. A

to this Declaration is thus not an official docket but is a reasonable approximation

that my assistant and I prepared based on the information available from the

Clerk’s website since no official docket is apparently available from the Clerk.

                                           4.

      The documents filed as exhibits to this declaration as Exhibits B-1 – B-174

are true and correct copies of all of the filings retrieved and downloaded as

described above from the Clerk’s listing for In Re: Special Purpose Grand Jury,

Case No. 22-EX-000024.

                                           5.

      One particular document is not available in full, and that is the March 20,

2023 Motion to Quash filed by President Trump. For reasons unknown to me, only

the first page of that very lengthy document will download from the Clerk’s

website, and that is Exh. B-145.




                                          3
      Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 4 of 11




                                          6

      Pursuant to 28 U.S.C. S 1746,I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information and belief.

          on August2I,2023.




         MacDougald
                             J/




                                         4
         Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 5 of 11



Docket
In Re: Special Purpose Grand Jury

Fulton Superior Court Case No. 2022-EX-000024
Judge Robert C. I. McBurney




B-001    01.24.2022       EX PARTE ORDER OF THE JUDGE.pdf

B-002    05.25.2022       EX PARTE ORDER OF THE JUDGE 1 (1).pdf

B-003    05.25.2022       EX PARTE ORDER OF THE JUDGE 1.pdf

B-004    05.25.2022       EX PARTE PETITION.pdf

B-005    06.27.2022       EX PARTE FILING.pdf

                          EX PARTE ORDER OF THE JUDGE Request to Use Recording
B-006    06.28.2022
                          Device_AJC.pdf

B-007    06.29.2022       EX PARTE ORDER Request to Use Recording Device_CNN.pdf

B-008    06.30.2022       EX PARTE FILING.pdf

                          EX PARTE ORDER Request to Use Recording Device_Kate
B-009    06.30.2022
                          Brumback.pdf
                          EX PARTE ORDER Request to Use Recording Device_WSB-
B-010    06.30.2022
                          TV_Radio.pdf
B-011    07.01.2022       EX PARTE FILING 2.pdf

B-012    07.01.2022       EX PARTE ORDER Request to Use Recording Device_WXIA.pdf

B-013    07.05.2022       EX PARTE ORDER Certificate of Material Witness (2).pdf

B-014    07.05.2022       EX PARTE ORDER Certificate of Material Witness 8.pdf

B-015    07.05.2022       EX PARTE ORDER Certificate of Material Witness.pdf

B-016    07.05.2022       EX PARTE ORDER OF THE JUDGE 9.pdf

B-017    07.05.2022       EX PARTE ORDER OF THE JUDGE 11.pdf

B-018    07.05.2022       EX PARTE ORDER OF THE JUDGE 12.pdf


                                         Exhibit A
        Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 6 of 11



B-019   07.05.2022    EX PARTE ORDER OF THE JUDGE 13.pdf

B-020   07.05.2022    EX PARTE PETITION 1.pdf

B-021   07.05.2022    EX PARTE PETITION 2.pdf

B-022   07.05.2022    EX PARTE PETITION 3.pdf

B-023   07.05.2022    EX PARTE PETITION 4.pdf

B-024   07.05.2022    EX PARTE PETITION 5.pdf

B-025   07.05.2022    EX PARTE PETITION 6.pdf

B-026   07.05.2022    EX PARTE PETITION 7.pdf

B-027   07.06.2022    EX PARTE ORDER Denying Motion to Continue 15.pdf

B-028   07.06.2022    EX PARTE ORDER Denying Motion to Quash 14.pdf

B-029   07.11.2022    EX PARTE FILING 3.pdf

B-030   07.11.2022    EX PARTE ORDER OF THE JUDGE 16.pdf

B-031   07.11.2022    EX PARTE PETITION 8.pdf

B-032   07.15.2022    EX PARTE FILING 4.pdf

B-033   07.18.2022    EX PARTE FILING 5.pdf

B-034   07.19.2022    MOTION TO QUASH AND DISQUALIFY.pdf

B-035   07.19.2022    Notice of Hearing.pdf

B-036   07.19.2022    Opposition to Motion to Disqualify Prosecutor.pdf

B-037   07.20.2022    Notice to Appear -Rudolph Guilliani.pdf

B-038   07.20.2022    Request to Install Recording Equipment_NBC.pdf

B-039   07.20.2022    Request to Use Recording Device Rule 22_Claire Simms.pdf

B-040   07.20.2022    Request to Use Recording Device Rule 22_CNN.pdf

B-041   07.20.2022    Request to Use Recording Device Rule 22_Kate Brumback.pdf

B-042   07.20.2022    Request to Use Recording Device Rule 22_Tamar Hallerman AJC.pdf

B-043   07.20.2022    Request to Use Recording Device Rule 22_WSB-TV.pdf

B-044   07.22.2022    Supplemental Brief in Support of Motion to Disqualify Prosecutor.pdf
        Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 7 of 11



B-045   07.25.2022    Order to Disqualify District Attorney.pdf

B-046   07.26.2022    Addendum to Order Disqualifying District Attorneys Office.tif
                      Notice of Removal of Action to The United States Dictric Court for The
B-047   07.29.2022
                      Northern Dictrict of GA.pdf
B-048   08.01.2022    Motion for Leave to File Under Seal.pdf

B-049   08.03.2022    EX PARTE FILING.pdf

B-050   08.08.2022    DA RESP TO EMERGENCY MOTION-R GIULIANI.pdf

B-051   08.08.2022    R. GIULIANI - EMERGENCY MOTION TO CONTINUE HEARING.pdf

B-052   08.08.2022    Request to Use Recording Device Rule 22_AJC.pdf

B-053   08.08.2022    Request to Use Recording Device Rule 22_Associated Press.pdf

B-054   08.08.2022    Request to Use Recording Device Rule 22_LeftRightTV.pdf

B-055   08.08.2022    Request to Use Recording Device Rule 22_Warner Media.pdf

B-056   08.08.2022    Request to Use Recording Device Rule 22_WSB-TV.pdf

B-057   08.08.2022    RULE NISI-R GIULIANI.pdf

B-058   08.09.2022    RUDY GIULIANIS REPLY TO THE STATES RESPONSE.pdf

B-059   08.16.2022    Motion for Reconsideration of 7.25.22 Disqualification Order.pdf

B-060   08.17.2022    Motion to Quash Subpoena Isssued to Gov. Brian Kemp.pdf

B-061   08.18.2022    Request to Use a Recording Device Rule 22_FOX5.pdf
                      Request to Use a Recording Device Rule 22_HALLERMAN- RANKIN -
B-062   08.18.2022
                      AJC.pdf
B-063   08.18.2022    Request to Use a Recording Device Rule 22_WSB-TV.pdf

B-064   08.18.2022    Rule NISI Motion to Quash Subpoena Issued to Gov. Brian Kemp..pdf
                      Request to Use a Recording Device Rule 22_FAUSSET -OR KEENAN -
B-065   08.23.2022
                      OR HAKIM.pdf
                      Request to Use a Recording Device Rule 22_MORRIS - YOUD -
B-066   08.23.2022
                      KIRKLAND.pdf
                      Request to Use a Recording Device Rule 22_NEWKIRK - PULLEY -
B-067   08.23.2022
                      BLOOMBERG PHOTOGRAPHER.pdf
B-068   08.23.2022    Request to Use a Recording Device Rule 22_SANDRA PARRISH.pdf

B-069   08.23.2022    Request to Use a Recording Device Rule 22_WXIA-TV.pdf
                      RESPONSE IN OPPOSITION TO WITNESS GOV BRIAN KEMPS
B-070   08.23.2022
                      MOTION TO QUASH.pdf
        Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 8 of 11



B-071   08.24.2022    Request to Use a Recording Device Rule 22_WABE-NPR.pdf

B-072   08.25.2022    CERTIFICATE OF MATERIAL WITNESS (BORIS EPSHTEYN).pdf

B-073   08.25.2022    CERTIFICATE OF MATERIAL WITNESS (JAMES PHIL WALDRON).pdf
                      CERTIFICATE OF MATERIAL WITNESS (SIDNEY KATHERINE
B-074   08.25.2022
                      POWELL).pdf
                      CERTIFICATE OF MATERIALL WITNESS (MARK RANDALL
B-075   08.25.2022
                      MEADOWS).pdf
                      MOTION TO QUASH GRAND JURY SUBPOENA BY KENNETH
B-076   08.25.2022
                      CHESEBRO.pdf
B-077   08.25.2022    MOTION TRANSCRIPT (7-25-22).pdf

B-078   08.25.2022    NOTICE OF APPEARANCE-S DEREK BAUER.pdf
                      ORDER DENYING MOTION TO RECONSIDER DISQUALIFICATION
B-079   08.25.2022
                      REQUEST.pdf
B-080   08.25.2022    PETITION FOR CERTFICATION (MARK RANDALL MEADOWS).pdf

B-081   08.25.2022    PETITION FOR CERTIFICATION (BORIS EPSHTEYN).pdf

B-082   08.25.2022    PETITION FOR CERTIFICATION (JAMES PHIL WALDRON).pdf

B-083   08.25.2022    PETITION FOR CERTIFICATION (SIDNEY KATHERINE POWELL).pdf
                      DA RESPONSE TO MOTION TO QUASH GRAND JURY SUBPOENA BY
B-084   08.26.2022
                      KENNETH CHESEBRO.pdf
B-085   08.29.2022    EX PARTE ORDER Denying Motion to Quash (2).pdf

B-086   08.29.2022    EX PARTE ORDER Denying Motion to Quash.pdf
                      OPPOSITION TO STATES MOTION FOR LEAVE TO FILE UNDER
B-087   08.30.2022
                      SEAL.pdf
B-088   09.02.2022    PETITION FOR CERTIFICATION- B. EPSHTEYN.pdf

B-089   09.02.2022    CERTIFICATE OF MATERIAL WITNESS- B. EPSHTEYN.pdf

B-090   09.02.2022    CERTIFICATE OF MATERIAL WITNESS- WILLIE FLOYD III.pdf

B-091   09.02.2022    PETITION FOR CERTIFICATION- W. FLOYD III.pdf

B-092   09.06.2022    EX PARTE FILING A.pdf

B-093   09.06.2022    EX PARTE FILING.pdf
                      EX PARTE ORDER Setting Aside and Striking Cert of Material
B-094   09.06.2022
                      Witness.pdf
B-095   09.08.2022    AJC'S RESPONSE TO MOTION FOR IN CAMERA PROCEEDING.pdf
                      ORDER Granting Verified Application for Pro Hac Vice - Miles M.
B-096   09.15.2022
                      Hart.pdf
        Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 9 of 11



B-097   09.15.2022    Verified Application for Pro Hac Vice Admission.pdf

B-098   09.21.2022    AMENDED CERTIFICATE OF MATERIAL WITNESS.pdf

B-099   09.23.2022    EX PARTE ORDER Sealing Order (2).pdf

B-100   09.23.2022    EX PARTE ORDER Sealing Order.pdf

B-101   09.27.2022    EX PARTE FILING.pdf
                      MOTION TO DISQUALIFY ATTORNEYS HOLLY A PIERSON -
B-102   10.03.2022
                      KIMBERLY BOUROUGHS DEBROW.pdf
B-103   10.03.2022    ORDER SEALING MOTION.pdf
                      STANDING ORDER REGARDING THE SEALING OF WARRANTS
B-104   10.03.2022
                      WARRANT AFFIDAVITS WARRANT RETURNS AND NON-
B-105   10.07.2022    Certificate of Material Witness (2).pdf

B-106   10.07.2022    Certificate of Material Witness.pdf

B-107   10.07.2022    EX PARTE FILING 1.pdf

B-108   10.07.2022    EX PARTE FILING 2.pdf

B-109   10.07.2022    EX PARTE FILING 3.pdf

B-110   10.07.2022    EX PARTE FILING 4.pdf

B-111   10.07.2022    EX PARTE FILING.pdf

B-112   10.07.2022    EX PARTE PETITION 1.pdf

B-113   10.07.2022    EX PARTE PETITION 2.pdf

B-114   10.07.2022    EX PARTE PETITION 3.pdf

B-115   10.07.2022    EX PARTE PETITION 4.pdf

B-116   10.07.2022    EX PARTE PETITION.pdf

B-117   10.07.2022    Petition for Certification of Need for Testimony Before SPGJ.pdf

B-118   10.07.2022    Petition for Certification of Need for Testimony.pdf

B-119   10.24.2022    RULE NISI.pdf
                      Elector Nominees' Opposition to State's Motion to Disqualify
B-120   11.10.2022
                      Counsel.pdf
B-121   11.10.2022    EX PARTE ORDER Sealing Pleading.pdf

B-122   11.14.2022    MOTION FOR LEAVE TO FILE UNDER SEAL.pdf
        Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 10 of 11



B-123   11.14.2022        ORDER Canceling Hearing on Attorney Disqualification Request.pdf

B-124   11.30.2022        EX PARTE ORDER OF THE JUDGE B.pdf

B-125   11.30.2022        EX PARTE ORDER Sealing Attachments A.pdf

B-126   12.05.2022        MOTION FOR CERTIFICATE OF IMMEDIATE REVIEW.pdf

B-127   01.09.2022        EX PARTE ORDER OF THE JUDGE.pdf
                          Request to Use Recording Device Rule 22_Associated Press Kate
B-128   01.20.2022
                          Brumback.pdf
B-129   01.20.2022        Request to Use Recording Device Rule 22_CNN.pdf
                          Request to Use Recording Device Rule 22_Law-Crime Trial
B-130   01.20.2022
                          Network.pdf
B-131   01.20.2022        Request to Use Recording Device Rule 22_New York Times.pdf
                          Request to Use Recording Device Rule 22_WSB Radio - Veronica
B-132   01.20.2022
                          Waters.pdf
B-133   01.20.2022        Request to Use Recording Device Rule 22_WSB-TV.pdf
                          BRIEF OF MEDIA INTERVENORS ISO Public Filing of Grand Jury
B-134   01.23.2022
                          Report.pdf
B-135   01.23.2022        Request to Use a Recording Device Rule 22_FOX 5.pdf

B-136   01.23.2022        Request to Use a Recording Device Rule 22_LAWFARE.pdf

B-137   01.23.2022        Request to Use a Recording Device Rule 22_NEXSTAR.pdf

B-138   01.23.2022        Request to Use a Recording Device Rule 22_REUTERS TELEVISION.pdf

B-139   01.23.2022        Request to Use a Recording Device Rule 22_WABE-NPR.pdf

B-140   01.23.2022        Request to Use a Recording Device Rule 22_WASHINGTON POST.pdf

B-141   01.23.2022        Request to Use a Recording Device Rule 22_WXIA- TV.pdf
        02.13.2023Order
B-142
        re SPGJ FINAL
                          EX PARTE ORDER Entering Portions of SPGJ's Final Report into Court
B-143   02.16.2022
                          Record.pdf
B-144   03.16.2022        JUDGMENT ORDER ON REMITTITUR (S23D0646).pdf

B-145   03.20.2022        EX PARTE FULTON COUNTY GRAND JURY.tif

B-146   03.27.2022        SCHEDULING ORDER.pdf

B-147   04.13.2022        MEDIA INTERVENORS NOTICE OF FILING.pdf
                          MOTION TO DISQUALIFY ATTY KIMBERLY BOURROUGHS
B-148   04.18.2022
                          DEBROW.pdf
        Case 1:23-mi-99999-UNA Document 2674 Filed 08/21/23 Page 11 of 11



B-149   04.19.2022    MEDIA INTERVENORS NOTICE OF APPEAL.pdf

B-150   04.20.2022    SCHEDULING ORDER.pdf

B-151   04.28.2022    MOTION JOINING THE TRUMP MOTION TO QUASH.pdf

B-152   04.28.2022    NOTICE OF APPEARANCE-KIERAN J SHANAHAN.pdf

B-153   05.01.2022    SCHEDULING ORDER.pdf

B-154   05.05.2022    EX PARTE FILING.pdf

B-155   05.10.2022    STATES MODIFICATION OF MOTION TO DISQUALIFY.pdf

B-156   05.15.2022    EX PARTE FILING.pdf

B-157   05.15.2022    STATES RESPONSE TO MOTIONS.pdf
                      REQUEST FOR TIME TO FILE A REPLY TO THE RESPONSES TO PRES
B-158   05.16.2022
                      TRUMP MOTION TO QUASH THE SPGJ REPORT.pdf
B-159   05.19.2022    MOTION OF AMICI CURIAE.pdf

B-160   05.19.2022    ORDER ON ADDITIONAL BRIEFING.pdf

B-161   05.22.2022    EX PARTE FILING 1.pdf

B-162   05.22.2022    EX PARTE FILING 2.pdf

B-163   05.22.2022    EX PARTE FILING 3.pdf

B-164   05.22.2022    EX PARTE FILING 4.pdf

B-165   05.22.2022    EX PARTE FILING 5.pdf

B-166   05.22.2022    EX PARTE FILING 6.pdf

B-167   05.22.2022    EX PARTE FILING A.pdf

B-168   05.24.2022    EX PARTE FILING A.pdf

B-169   05.24.2022    EX PARTE FILING.pdf

B-170   07.31.2022    Order on Motion to Quash, Preclude, and Recuse.pdf

B-171   07.31.2022    Order on Motion.pdf

B-172   08.04.2022    Notice of Appeal.pdf

B-173   08.10.2022    SPGJ Motions Transcript - 8.25.22.pdf
                      EX PARTE FILING_Media Intervenors' Motion for Release of SPGJ Final
B-174   08.16.2022
                      Report.pdf
